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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

CORNING INCORPORATED,

                              Plaintiff,
                                                                      DECLARATION
                vs.
                                                                Civil Action No.: 6:18-cv-06866
DONGGUAN JINGBO OPTOELECTRONICS CO.,
LTD.,

                              Defendant.


I, Keith A. Zullow, hereby declare as follows:

          1.    I am an attorney at the law firm of Goodwin Procter LLP, counsel for Defendant

Dongguan Jingbo Optoelectronics, Co., Ltd. (“Jingbo”). I am a member in good standing of the

Bar of the State of New York.

          2.    I submit this Declaration in support of Defendant Dongguan Jingbo

Optoelectronics, Company Limited’s Motion to Dismiss pursuant to Rules 12(b)(5) and 12(b)(6).

I submit this Declaration to authenticate and provide to the Court certain documents cited to and

referenced in the motion and to provide any other information relevant thereto.

          3.    I have personal knowledge of the facts stated in this Declaration and am

competent to testify to the same.

          4.    Attached hereto as Exhibit A is a true and correct copy of the General

Commercial Framework Agreement, entered into as of June 3, 2017 between Corning and

Jingbo.

          5.    Attached hereto as Exhibit B is a true and correct copy of an email dated

September 19, 2018, with translation, from Mr. Liu to Mr. Xu.
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       6.      Attached hereto as Exhibit C is a true and correct copy of an email dated August

16, 2018, from Mr. McConnell to Mr. Xu attaching a letter from Messrs. McConnell and

Schaeberle to Mr. Liang.

       7.      I, Keith A Zullow, hereby declare, under penalty of perjury and the laws of the

United States of America, that the foregoing Declaration is true and correct.



Dated: March 16, 2020                                       s/ Keith A. Zullow
                                                            Keith A. Zullow
